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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
ECHOSTAR TECHNOLOGIES CORP.,        )
      Plaintiff                     )
                                    )
      v.                            )                  CIVIL ACTION
                                    )                  NO. 04-10129-REK
ALBERTO DAVID,                      )
      Defendant                     )
____________________________________)


                                        Default Judgment
                                        February 23, 2005


               Plaintiff Echostar Technologies Corp., filed the complaint in this action on

January 20, 2004. On April 7, 2004, plaintiff requested notice of default, which was entered by

the Clerk on June 16, 2004. Plaintiff moved for default judgment. (Docket No. 5) (filed May 20,

2004) This court allowed the request in a Memorandum and Order issued January 26, 2005.

(Docket No. 7) The court scheduled a hearing on damages for the reasons discussed in that

Memorandum and Order. (Id.)

               The plaintiff sent a letter to the court, filed February 2, 2005, indicating that it

was “willing to accept the Court’s award for damages outlined in your Memorandum and Order,

and the federal judgment rate from the date of judgment pursuant to 28 U.S.C. § 1961(a).”

(Docket No. 8) The plaintiff stated that it would “waive attorneys fees with regard to this

matter.” (Id.) The letter also asked to vacate the damages hearing if the plaintiff’s waiver was

“agreeable” to the court. (Id.) The plaintiff then submitted a proposed form of judgment.

(Docket No. 9) The proposed form of judgment made clear that the plaintiff waives (1) any right
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to more than the statutory minimum of damage, (2) any right to attorneys’ fees, and (3) any right

to costs. Accordingly, the court finds that the plaintiff is entitled to judgment.

               For the foregoing reasons, it is ORDERED:

               (1) Judgment for plaintiff.

               (2) Plaintiff is awarded $11,000.00 in statutory damages, pursuant to 47 U.S.C.

§ 605(e)(3)(C)(i)(II).

               (3) Plaintiff shall receive post-judgment interest on the monetary awards pursuant

to 28 U.S.C. § 1961(a), at the federal judgment rate applicable on the date of this judgment

(3.05%).

               (4) The evidentiary hearing scheduled for February 24, 2005, is CANCELLED.



Approved:                                              By the Court,



_/s/Robert E. Keeton___________                        _/s/Karen Folan__________

Robert E. Keeton                                       Karen Folan, Deputy Clerk
Senior United States District Judge
